Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 1 of 42

XHIBIT A
Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 2 of 42

SETTLEMENT AGREEMENT IN MDL NO. 2047
REGARDING CLAIMS INVOLVING
BUILDERS, INSTALLERS, SUPPLIERS
AND PARTICIPATING INSURERS’

This Settlement Agreement is entered into by and among the Plaintiffs’ Steering
Committee on behalf of the Class Members, as defined below, in In re: Chinese Manufactured.
Drywall Products Liability Litigation, MDL No. 2047 (EDLA), including the various
consolidated Omnibus Complaints and individual actions, and those Builders, Installers and
Suppliers identified in Exhibit 1 (included within the definition of “Participating Defendants” as
hereinafter defined), together with the Participating Defendants’ Participating Insurers identified
in Exhibit 2, as of the latest date of a Party’s signature below.

WHEREAS, certain Participating Defendants and some of their Participating Insurers
have been named as defendants in MDL No. 2047, in state or federal court litigation, and/or are
otherwise alleged to be liable for the damages and/or injuries related to Chinese Drywall that was
installed in various properties throughout the United States; and

WHEREAS, the Participating Defendants and Participating Insurers deny the allegations
against them and dispute liability, causation and damages with respect to any and all claims
relating to Chinese Drywall; and

WHEREAS, certain Participating Defendants have sought insurance coverage from the
Participating Insurers with respect to the Litigation and/or other claims relating to Chinese
Drywall, and certain Participating Insurers have reserved rights and/or denied insurance
coverage; and .

WHEREAS, without conceding the correctness of any other Party's legal position,
claims and/or. defenses, the Parties wish to avoid the effort, expense and risk of continued
litigation,

NOW, THEREFORE, in consideration of the mutual covenants contained herein and
intending to be legally bound, the Parties agree as follows:

1. Definitions

1.1. Parties. “Parties” shall mean the Class, Participating Defendants, and
Participating Insurers:

1.1.1. Class. “Class,” also referred to as “Settlement Class” or “Class
Members,” shall include all persons or entities, along with their heirs,
representatives, attorneys, executors, administrators, executives,
subsequent purchasers, residents, guests, tenants, lenders, successors

! This Settlement is referred to in the Knauf Defendants’ Settlement Agreement as the “Prospective Insurance
Agreement.”

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 3 of 42

and assigns, with claims, known or unknown, arising from or related to
actual or alleged Chinese Drywall purchased, imported, supplied,
distributed, marketed, installed, used, sold or in any way alleged to be
within the legal responsibility of any Participating Defendant. A
Participating Defendant shall also be a Class Member to the extent the
Participating Defendant has remediated or participated in the
settlement of claims related to the Chinese Drywall in one or more
Affected Properties or repurchased an Affected Property. Participating
Insurers are not Class Members. Class Members do not include
persons or entities with claims involving an Affected Property in the
Commonwealth of Virginia.

1.1.2. Participating Defendants; Participating Defendant. “Participating
Defendants” shall mean those persons or entities identified in Exhibit
1. “Participating Defendant” shall mean any one of the Participating
Defendants. Knauf shall not be considered a Participating Defendant.

1.1.2.1. Participating Defendant Released Parties; Participating
Defendant Released Party. "Participating Defendant
Released Parties" shall mean all Participating Defendants
and their respective past, present, and future officers,
directors, board members, members, agents, attorneys;
consultants, claim administrators, managers, employees,
partners, parent corporations, sister corporations,
subsidiaries, Affiliates, related entities, divisions, heirs,
associates, stockholders, shareholders, retail dealers,
distributors, insurers, reinsurers, and all of their
predecessors, successors, assigns, legatees, legal
representatives, and any other stakeholders of each of the
foregoing. "Participating Defendant Released Party" shall
mean any one of the Participating Defendant Released
Parties.

1.1.3. Participating Insurers; Participating Insurer. “Participating
Insurers” shall mean (a) all insurers identified in Exhibit 2 to the extent
of any insurance policy issued or alleged (i) to have been issued to any
non-insurer Participating Defendant and/or under which any non-
insurer asserts an entitlement to rights or benefits, or (ii) to include any
Participating Defendant as an additional insured. An insurer listed on
Exhibit 2 as a Participating Insurer may also be a Non-Participating
Defendant to the extent of a Reserved Claim against that insurer in
Exhibit 3, an assignment against that insurer in Exhibit 4, or to the
extent that insurer issued a policy of insurance to a Non-Participating
Defendant. “Participating Insurer’ shall mean any one of the
Participating Insurers.

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 4 of 42

1.1.3.1. Participating Insurer Released Parties; Participating
Insurer Released Party. "Participating Insurer Released
Parties" shall mean all Participating Insurers, and their
respective past, present, and future officers, directors, board
members, members, agents, attorneys, consultants, claim
administrators, managers, employees, partners, parent
corporations, sister corporations, subsidiaries, Affiliates,
related entities, divisions, heirs, associates, stockholders,
shareholders, retail dealers, distributors, insurers,
reinsurers, and all of their predecessors, successors,
assigns, legatees, legal representatives, and any other
stakeholders of each of the foregoing. "Participating
Insurer Released Party" shall mean any one of the
Participating Insurer Released Parties. :

1.2. Affected Property. “Affected Property” shall mean any real or personal
property, residential or commercial, actually or allegedly containing or exposed to
Chinese Drywall allegedly purchased from, imported, supplied, distributed,
marketed, installed, used, sold and/or delivered by or in any way alleged to be
within the legal responsibility of any Participating Defendant.

1.3. Affiliate. "Affiliate" shall mean: (1) any entity or person that directly or
indirectly owns, controls, or holds with the power to vote, any outstanding voting
securities or interests of a Participating Defendant; (2) an entity any of whose
outstanding voting securities or interests are or were directly or indirectly owned,
controlled, or held with power to vote, by a Participating Defendant, or by an
entity or person that directly or indirectly owns or owned, controls or controlled,
or holds or held with the power to vote, any outstanding voting securities or
interests of a Participating Defendant; (3) an entity or person whose business is or
was operated under a lease, management or operating agreement by a
Participating Defendant, or person or entity substantially all of whose property is
or was operated or managed under an operating or management agreement with a
Participating Defendant; or (4) an entity that operates or operated, manages or
managed the business or substantially all of the property of a Participating
Defendant under a lease, management or operating agreement, subject to the
limitation that an individual person holding common shares of publicly issued and
traded stock of a Participating Defendant or Participating Insurer, either directly
or through an investment fund, shall not be deemed an Affiliate hereunder.

1.4.  CDW-Related Actions. “CDW-Related Actions” shall mean any and all state
court, federal court, international tribunal, arbitration claims or other claims,
including any claim under Section 558 of the Florida Statutes or any similar
statute in any other state, against any Participating Defendant or Participating
Insurer arising out of or relating to Chinese Drywall. .

1.5. Chinese Drywall. “Chinese Drywall” shall mean any and all drywall products
actually or allegedly purchased from, imported, supplied, distributed, marketed,

3

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 5 of 42

1.6.

1.7.

1.8.

1.9.

1.10.

installed, used, sold and/or delivered prior to the Effective Date of this Settlement
by or in any way alleged to be within the legal responsibility of any Participating
Defendant, which drywall product was allegedly manufactured, in whole or in
part, in China, or that include components manufactured, in whole or in part, in
China, including, but not limited to, drywall manufactured by Knauf Plasterboard
(Tianjin) Co., Ltd.; Knauf Plasterboard (Wuhu), Co., Ltd.; Guangdong Knauf
New Building Materials Products Co., Ltd.; Knauf Gips KG; Gebrueder Knauf
Verwaltungsgesellschaft, KG; Knauf International GmbH; Knauf Insulation
GmbH; Knauf UK GmbH; Knauf AMF GmbH & Co. KG; Knauf do Brasil Ltd.;
PT Knauf Gypsum Indonesia; Beijing New Building Materials Public Ltd. Co.;
CNBM; Taishan Gypsum Co., Ltd. f/k/a/ Shandong Taihe Dongxin Co., Ltd.;
Taian Taishan Plasterboard Co., Ltd.; Pingyi Zhongxin Paper-Faced Plasterboard
Co., Ltd. f/k/a Shandong Chenxiang Building Materials Co., Ltd.; Crescent City
Gypsum, Inc.; The China Corporation, Ltd; Run & Fly (Jinan) New Building
Material Co., Ltd; Baier Building Materials Co. Ltd. "Chinese Drywall" shall
also include any and all drywall products at issue in the Litigation whose origin or
manufacturer is not ascertainable.

Counsel. “Counsel” shall mean:

1.6.1. Plaintiffs’ Class Counsel shall mean Russ Herman of Herman Herman
& Katz LLP, 820 O’Keefe Avenue, New Orleans, LA 70113 and
Amold Levin of Levin, Fishbein, Sedran & Berman, 510 Walnut
Street, Suite 500, Philadelphia, PA 19106. ,

1.6.2. As to the PSC, those counsel as defined in Section 1.15.

1.6.3. As to Participating Defendants, those counsel of record for each entity.
identified in Exhibit 1.

1.6.4. As to Participating Insurers, those counsel of record for each entity
identified in Exhibit 2.

Court. “Court” shall mean The Honorable Eldon E. Fallon who presides over Jn
re Chinese Manufactured Drywall Products Liability Litigation, MDL No. 2047,
in the United States District Court for the Eastern District of Louisiana.

Escrow Account. "Escrow Account" shall mean an account to be approved by
the Court that is a Qualified Settlement Fund pursuant to Section 1.468B-1 ef seq.
of the Treasury Regulation promulgated under Section 468B of the Internal
Revenue Code of 1981, as amended.

Execution Date. “Execution Date” shall mean the latest date on which any of the.
Parties signs this Settlement Agreement, as shown by their signature blocks
below.

Knauf. “Knauf? shall mean Knauf Plasterboard (Tianjin) Co., Ltd.; Knauf
Plasterboard (Wuhu), Co., Ltd.; Guangdong Knauf New Building Materials

4

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 6 of.42

Products Co., Ltd.; Knauf Gips KG; Gebrueder Knauf Verwaltungsgesellschaft
KG; Knauf International GmbH; Knauf Insulation GmbH; Knauf UK GmbH;
Knauf AMF GmbH & Co. KG; Knauf do Brasil Ltd.; and PT Knauf Gypsum
Indonesia.

1.10.1. Knauf Released Parties. "Knauf Released Parties" shall mean Knauf,
and their respective past, present, and future officers, directors, board
members, members, agents, attorneys, consultants, claim
administrators, managers, employees, partners, parent corporations,
sister corporations, subsidiaries, Affiliates, related entities, divisions,
heirs, associates, stockholders, shareholders, retail dealers, distributors,
insurers, reinsurers, and all of their predecessors, successors, assigns,
legatees, legal representatives, and any other stakeholders of each of
the foregoing.

1.11. Knauf Class Settlement. "Knauf Class Settlement" shall mean the Settlement
Agreement Regarding Claims Against the Knauf Defendants in MDL No. 2047. °

1.12. Litigation. “Litigation” shall mean all Class Action Omnibus Complaints
(“Omni Complaints”) and all other complaints filed in or consolidated with MDL
No. 2047 and all CDW-Related Actions, as defined in Section 1.4.

1.13. Non-Participating Defendant. “Non-Participating Defendant” shall mean any
person or entity that is not a Participating Defendant (whether or not that person
or entity is named as a defendant, cross-defendant, third-party defendant or
fourth-party defendant in the Litigation or any CDW-Related Actions) and, to the
extent of applicable insurance coverage allegedly provided, that person’s -or
entity’s insurers. Non-Participating Defendant shall also include Beijing New
Building Materials Public Ltd. Co.; CNBM; Taishan Gypsum Co., Ltd. fik/a
Shandong Taihe Dongxin Co., Ltd.; Taian Taishan Plasterboard Co., Ltd.; Pingyi
Zhongxin Paper-Faced Plasterboard Co., Ltd. f/k/a Shandong Chenxiang Building
Materials Co., Ltd.; Crescent City Gypsum, Inc., The China Corporation, Ltd.;
Run & Fly (Jinan) New Building Material Co., Ltd.; Baier Building Materials
Co., Ltd., and any other manufacturers of Chinese Drywall; as well as any person
or entity listed on Exhibit 1 or Exhibit 2 that subsequently withdraws from and
cancels its obligations under this Settlement pursuant to Sections 6.4, 8.3.2, 8.4.1
or 13.2 below. Non-Participating Defendant, however, shall not include Knauf. —

1.14. Order and Judgment. The “Order and Judgment” shall mean the final order and
judgment entered by the Court following the Fairness Hearing, that:

1.14.1. Certifies the Settlement Class pursuant to Fed. R. Civ. P. 23(b)(3);

1.14.2. Finds that the Settlement is fair, reasonable, and adequate; finds that
the Settlement was entered into in good faith and without collusion;
finds the Settlement represents a negotiated agreement, and approves
the Settlement; mee

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 7 of 42

1.14.3. Issues the Orders identified in Section 10;

1.14.4. Finds that the indemnity, defense and judgment reduction provisions in
Sections 4.3 and 5.2.6 are valid, binding, and enforceable; and
therefore, bars the assertion by any Class Member of-any contribution,
indemnification, subrogation, or other claims related to or arising out
of Chinese Drywall against the Participating Defendants or
Participating Insurers, excluding only any Reserved Claims; -

1.14.5. Enters the findings of fact and conclusions of law proposed in Section
17.4; and

1.14.6. Finds that pursuant to Fed. R. Civ. P. 54(b), there is no just reason for
delay of entry of final judgment with respect to the foregoing.

1.15. Plaintiffs’ Steermg Committee; PSC. “Plaintiffs’ Steering Committee” or
“PSC” shall mean the group of plaintiffs’ counsel appointed by the Court to
manage and administer the affairs of all plaintiffs in MDL No. 2047 and to assist
the Court in administering its docket. The PSC, as currently constituted, is
described by Pretrial Order No. 8B (Rec. Doc. No. 13084) in MDL No. 2047,

1.16. Preliminary Approval Order. “Preliminary Approval Order” shall mean an
order of the Court preliminarily certifying the Class and approving this
Settlement.

1.17. Related Claims. “Related Claims” shall mean any unlitigated claims, known or
unknown, against any Participating Defendant or Participating Insurer related to
or arising out of Chinese Drywall. "Related Claims" shall not include Reserved
Claims.

1.18. Released Claim; Released Claims. “Released Claim” or “Released Claims”
shall be as defined in Section 5.1, and shall include all releases described in
Sections 5.1-5.5. "Released Claims" shall not include Reserved Claims. °

1.19. Released Party; Released Parties. Except as provided in Section 5.6, “Released
Party” or “Released Parties” shall mean each Participating Defendant Released
Party and each Participating Insurer Released Party. "Released Party" or
"Released Parties" shall also include the Knauf Released Parties, but only to the
extent provided in Sections 5.3.1 and 5.4.1.

1.20. Reserved Claims. “Reserved Claims” shall mean those claims reserved in
Section 5.6.

1.21. Settlement; Agreement. “Settlement” or “Agreement” shall mean this
Settlement Agreement in MDL No. 2047 Regarding Claims Involving Builders,
Installers, Suppliers and Participating Insurers. !

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 8 of 42

1.22. Settlement Class Counsel. “Settlement Class Counsel” shall mean MDL No.
2047 Plaintiffs’ Liaison Counsel, Russ Herman and MDL No. 2047 Lead
Counsel, Arnold Levin.

1.23. Settling Party; Settling Parties. “Settling Parties” shall mean all Class Members
who do not opt-out of this Settlement and all Participating Defendants and
Participating Insurers who do not withdraw from this Settlement, except to the
extent of Reserved Claims in Section 5.6. “Settling Party” shall mean any one of
the Settling Parties. To the extent a Participating Defendant is also a Class
Member as described in Section 1.1.1 above, that Participating Defendant may be
a Settling Party in its capacity as a Participating Defendant but not be a Settling
Party in its capacity as a Class Member by choosing to opt-out one or more of its
claims in accordance with the procedure set forth in Section 8 below.

1.24. Fairness Hearing. "Fairness Hearing" shall mean the hearing before the Court
described in Section 10 of this Settlement.

2. Effective Date

2.1. The “Effective Date” of this Settlement shall be the date when the Settlement is
Final irrespective of the Execution Date or the date of the Preliminary Approval
Order. “Final” means the later of: ve

2.1.1. The date after the time to appeal the Order and Judgment has expired
with no appeal having been taken; or :

2.1.2. If an appeal is sought from the Order and Judgment, the day after the
Order and Judgment is either affirmed, or any and all appeals, or
motions for reargument or reconsideration are dismissed or denied,
and the judgment is no longer subject to further appellate review.

2.2. _ An appeal from any order approving the payment of fees and costs which seeks to
reduce amounts to be paid to Petitioning Attorneys, as defined in Section 16.6,
shall not affect the finality of the Settlement.

3. Settlement of All Claims Against Participating Defendants and Participating
Insurers

3.1. Except as to any Class Member who opts out of the Class in accordance with
Section 8, and except as to any Reserved Claims described in Section 5.6, the
Parties agree to settle and resolve all claims asserted by and amongst each other as
set forth in Sections 5.1—5.5. This Settlement will settle and resolve with finality
the Litigation, the Released Claims, and the Related Claims involving the Class
Members, the Participating Defendants and Participating Insurers and any other
claims that have been brought, could have been brought or could be brought now
or at any time in the future in the Litigation or in any other proceeding of any kind
against any Participating Defendant and/or Participating Insurer relating to or
arising out of Chinese Drywall, whether based in law, equity or otherwise.

7

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 9 of 42

4, Payments by Participating Defendants and Participating Insurers and Application
of Proceeds

41. In consideration of the settlement of all Class Members’ claims arising out of or
related to Chinese Drywall in the Litigation and/or CDW-Related Actions and/or
Related Claims against Participating Defendants and Participating Insurers, the
Participating Defendants and Participating Insurers will pay the collective sum of
EIGHTY MILLION DOLLARS ($80,000,000.00) (the “Settlement Funds”),
subject to the credits in Section 4.2. The credits in Section 4.2 shall not be
included in the Settlement Funds subject to allocation under Section 16.1. No
Participating Defendant and none of his, her or its Participating Insurers is liable
to pay settlement funds committed by or on behalf of any other Participating
Defendant and his, her or its Participating Insurers. Each Participating Defendant
and his, her or its Participating Insurers, are obligated only to pay their individual
settlement amounts, as committed in response to the MDL No. 2047 Mediator’s
confidential settlement proposal, and which amounts are to be paid as follows:

4.1.1. Each Participating Defendant and/or its Participating Insurers shall
deposit 5% of the total sum to be paid by such Participating Defendant
and/or its Participating Insurers into the trust account for Insurance
Liaison Counsel, Judy Y. Barrasso, payable to Barrasso Usdin
Kupperman Freeman & Sarver, L.L.C., IOLTA Account and sent c/o
H. Minor Pipes, III, 909 Poydras Street, 24th Floor, New Orleans,
Louisiana 70112. This amount is to be paid within seven (7) days
following the entry of the Preliminary Approval Order by the Coutt.
These funds are to be used for the purposes of (a) paying Mediator's
costs, and (b) paying the cost of class notice. To the extent any of the
funds are spent on those purposes, there shall be no refund of this sum,
or any portion thereof, to any Participating Defendant or Participating
Insurer who withdraws from this Settlement pursuant to Sections 8.3.2
or 8.4.1. However, if any Participating Defendant or Participating
Insurer properly withdraws from this settlement when a portion of
these funds has not been spent on these stated purposes, it shall be
entitled to a refund of the portion of its payment in the same
percentage as that left unspent on the date of withdrawal. Any of these
funds remaining after payment of the Mediator's costs and class notice,
and not refunded to withdrawing Participating Defendants, shall be
deposited in the Escrow Account for use in the allocations provided in
Section 16.

4.1.2. Each Participating Defendant and/or its Participating Insurers shall
deposit into the Escrow Account the remaining 95% of the total sum to
be paid by such Participating Defendant and/or its Participating
Insurers within fifteen (15) days of the Effective Date of this .

Settlement. These funds will be allocated in accordance with Section
16 of this Settlement Agreement.

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 10 of 42

42. The following amounts shall be applied towards satisfying the Settlement Funds
in Section 4.1, but shall not be applied towards satisfying the recovery of
attorneys' fees and reimbursement of costs available under Section 16.6 (because
these funds will be the subject of a separate recovery from the Knauf Defendants
(if used by those entities to satisfy a builders’ claim, e.g., CastleRock) or by a
Class Member that opts-out of this settlement and pursues its claim against a
Participating Defendant or Non-Participating Defendant): .

4.2.1. Separate Settlements. Because the following entities have either
reached, or have been in negotiations for, separate full or partial
settlements regarding claims involving Chinese Drywall, after the
negotiations that led to this Settlement, thereby removing those claims
from this Settlement, the following amounts will be credited against
the Settlement Funds due in Section 4.1:

4.2.1.1. CastleRock Communities LP — $1,284,000.

4.2.1.2. Coastal Construction Group of South Florida, Inc. ~
$3,936,000.

4.2.1.3. Devon International Industries, Inc. — $756,000.

4.2.1.4. Gulf Coast Shelter, Inc. and Shelter Products, Inc. —
$720,000.

4.2.1.5. RCR Holdings II, LLC — $2,376,000.
42.1.6. | Shoma Homes Splendido, Inc. — $358,000.

4.2.2. For each of the Separate Settlements listed in Section 4.2.1., the PSC,
class counsel, common benefit attorneys and privately retained
attorneys for all Class Members shall be entitled to recover an award
of attorneys fees equivalent to the common benefit percentage set by
the Court in accordance with Section 16.6,

4.2.3. Opt-outs and Withdrawals. To the extent of any opt-outs or
withdrawals pursuant to Sections 8.1, 8.3 or 8.4, the payment of
Settlement Funds by an individual Participating Defendant for the
Affected Properties associated with any opt-outs shall be reduced pro-
rata relative to the number of units comprising the Mediator's
confidential settlement proposal for the number of opt-outs to the
applicable Participating Defendant, or for the Participating Defendant's
share if a withdrawal, and these amounts will be credited against the
Settlement Funds due in Section 4.1.

43. In consideration of the payments and other consideration made by Participating
Defendants and Participating Insurers, Class Members agree, in addition to other
conditions set forth in this Settlement Agreement, to apply the settlement

9

5.

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 11 of 42

proceeds they receive, except for funds allocated to resolve claims for bodily
injury pursuant to Section 16, to assist in the remediation of their Affected
Property allegedly damaged by Chinese Drywall, or, in instances where a lender
holds a mortgage or deed of trust on the Affected Property, the Class Member
may defer remediation by securing the release of all of the lender’s claims
regarding the Chinese Drywall and recording a notice in the land records office of
the appropriate governmental agency of the presence of Chinese Drywall in the
Class Member’s property. This provision does not apply to the extent the Class
Member is a Participating Defendant who has remediated the Affected Property:
Any Class Member that fails to comply with the obligations set forth in this —
paragraph shall indemnify, (including attorney fees and costs, both at trial court
and appellate court levels), defend and hold harmless each Participating
Defendant and Participating Insurer for any claim brought by any person or entity,
including, without limitation, that Class Member's lender or any subsequent
purchaser of that Affected Property, against the Participating Defendant or
Participating Insurer relating to the existence of Chinese Drywall in the Affected

Property.

Releases

5.1.

“Released Claim” or “Released Claims” shall mean, except as listed below, and
except for Reserved Claims in Section 5.6, any and all claims of any kind and
nature whatsoever of a Class Member, Participating Defendant, Participating
Insurer or Knauf (a) arising out of, or in any manner related to, Chinese Drywall,
the Litigation, CDW-Related Actions or Related Claims, and/or (b) for any and all
losses, damages and/or injuries arising from, or in any manner related to, all
and/or any of the claims described in (a) above, including but not limited to, any
and all claims that a Class Member, Participating Defendant, Participating
Insurer, or Knauf, or anyone claiming by or through any of these individuals ‘or
entities, has, may have, or may have had, regardless of whether such claim is
known or unknown, filed or unfiled, asserted or as yet unasserted, or existing or
contingent, whether asserted by petition, complaint, cross-claim, third party
complaint, fourth-party complaint, arbitral demand, written demand, or otherwise
(or any judgment or order entered on such claims), based upon or alleging any act,
conduct, status or obligation of any person or entity (including any Participating
Defendant or Participating Insurer) and/or any source of liability whatsoever, and
regardless of the legal theory or theories of damages involved and/or (c) for any
and all claims for insurance coverage (including claims for additional insured
coverage), indemnity, duty to defend, common law and statutory bad faith claims,
and/or extra-contractual liability or any other insurer misconduct of any kind,
which claims arise under state, or other law (including common law) and any and
all past, present, and/or future claims arising out of, or related to indemnity
obligations, duty to defend, claims handling, claims adjustment, breach of
contract, breach of duty or duties, negligent investigation, breach of warranty,
failure to warn, breach of implied warranty, breach of good faith and fair dealing,
bad faith, statutory bad faith, negligent or intentional interference with contractual
relationships, deceptive trade practices, unfair trade practices, unfair settlement

10

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 12 of 42

practices, or conduct in violation of any insurance code, and/or any other alleged
misconduct, omission, or wrongdoing of any kind, of whatever nature or source,
known or unknown. Notwithstanding the above, the only persons or entities
released are those defined as Participating Defendant Released Parties and/or
Participating Insurer Released Parties. This Settlement does not provide complete
compensation to redress all Class Members’ damages and therefore Class
Members’ claims are reserved against any person or entity that is not a
Participating Defendant Released Party or a Participating Insurer Released Party.
The term “Released Claim” or “Released Claims” includes, but is not limited to,
the following: -

5.1.1. For personal injury, bodily injury (including death), damage to real or
personal property, remediation and/or clean-up of property, diminution
of property value, stigma, groundwater contamination, loss of use, loss
of enjoyment, economic loss, fear, fear of illness or disease, fear of
developing illness or disease, fright, mental or emotional distress, pain
and suffering, loss of earnings, impairment of earning capacity, loss of
consortium, loss of support, loss of love and affection, equity and
medical monitoring, bystander liability, wrongful death, survival
actions, breach of contract, all statutory claims, punitive or exemplary
damages, attorneys’ fees, attorneys’ costs or expenses, moving
expenses, or additional rental or mortgage payments,

5.1.2. For nuisance, trespass, inconvenience, loss of use or enjoyment,
negligence, negligence per se, tort, public or private nuisance, custody
of a thing containing a vice or defect, strict liability, liability for ultra
hazardous activities or conduct, absolute liability, wanton and reckless
misconduct, malicious misconduct, servitude or obligation of vicinage;
abuse of right, or any other liability legally asserted or assertable under
any federal, state, or local statute, directive or regulation, redhibition,
violation of any state or federal home warranty act, products liability
act, unfair trade practices or consumer protection law, negligent
discharge of a pollutant or corrosive substance, unjust enrichment,
breach of express or implied warranty, breach of implied warranty of
fitness and merchantability, breach of implied warranty of habitability,
negligent misrepresentation, building code violations;

5.1.3. For damages or alleged damages resulting in whole, or in part, from
exposure of the Class or Class Members or property of the Class
Members to hazardous or allegedly hazardous, toxic, dangerous or

harmful substances;
5.1.4. For all personal injury and related statutory violations;
5.1.5. For bad faith damages, whether statutory or at common law, extra-

contractual damages based upon any alleged insurer misconduct of any
kind or nature and punitive damages;

11

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 13 of 42

5.1.6. For any and all claims under any state, federal, tribal or local law, rule
or regulation, including but not limited to any environmental law, rule
or regulation;

5.1.7. For derivative or vicarious liability arising out of the conduct or fault

of others for which the Participating Defendants and/or Participating
Insurers may be responsible;

5.1.8. For any right legally assertable by the Class or any Class Member now
or in the future, whether the claim is personal to each individual, is
derivative of a claim now or in the future, or as assignee, successor,
survivor, beneficiary, subrogee, or representative of a Class Member;

5.1.9. For a past, present, future, known, unknown, foreseen, unforeseei,
contingent, nascent, mature claim or a claim arising at law, in equity or
otherwise, including but not limited to, claims for survival and
wrongful death;

5.1.10. For any claim, right, or action arising out of, based on, or relating to
any body of law whatsoever;

5.1.11. For all injuries or damages of any type, nature, or character arising

from, attributable to, or in any way resulting from the Chinese
Drywall;

5.1.12. For any conduct of any of the Participating Defendants and/or
Participating Insurers with respect to Chinese Drywall, CDW-Related
Actions, Related Claims or the Litigation; however, this provision
shall not prevent or impede the enforcement of claims or entitlements
to benefits under this Settlement;

5.1.13. For any claim, known or unknown, for contribution, subrogation, or
indemnity, contractual or otherwise, arising out of, attributable to, or in
any way related to Chinese Drywall;

5.1.14. For any further claims and/or liabilities arising out of, or otherwise
relating to, the purchase, import, sale, supply, storage, handling,
installation, marketing, distribution, and/or use of Chinese Drywall,
including, but not limited to, punitive damages, fines, interest,
attorneys’ fees, and costs of any nature.

5.2. Class Release

5.2.1. Except as provided in Section 5.6, as of the Effective Date of the
Settlement, each Class Member, and any person or entity claiming by,
through, and/or on behalf of a Class Member, hereby fully, finally, and
forever releases, remises, waives, surrenders, foregoes, gives up,
abandons, cancels, acquits and forever discharges any and all Released

12

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 14 of.42

Claims against the (a) Participating Defendant Released Parties and
(b) Participating Insurer Released Parties. The release of the
Participating Insurer Released Parties is only to the extent of a
Participating Insurer's obligations. relating to any policies alleged to
provide insurance coverage to any Participating Defendant, whether as
a named or additional insured.

5.2.2. Without limiting the foregoing, with respect to any Affected Property
involving WCI Communities, Inc., and its affiliates, the Class Release
set forth in Section 5.2.1 of this Settlement shall extend to and include
the following: WCI Communities, Inc., New WCI, the Chinese
Drywall Trust, Robert C. Pate, as Trustee for the Chinese Drywall
Trust, and their respective past, present and future owners, partners,
shareholders, officers, directors, board members, members, managers,
agents, attorneys, employees, parents, associates, subsidiaries,
divisions, affiliates, insurers and all predecessors and successors,
assigns or legal representatives.

5.2.3. Without limiting the foregoing, with respect to any Affected Property
involving North Pacific Group, Inc., and its affiliates, the Class
Release set forth in Section 5.2.1 of this Settlement shall extend to and
include the following: North Pacific Group, Inc., Northern Pacific
Lumber Co., the NPG Chinese Drywall Property Damage and Personal
Injury Settlement Trust (the “NPG Chinese Drywall Trust”), Robert C.
Pate as Trustee of the NPG Chinese Drywall Trust, and their
respective past, present and future owners, partners, shareholders,
officers, directors, board members, members, managers, agents,
attorneys, employees, parents, associates, subsidiaries, divisions,
affiliates, insurers and all predecessors and successors, assigns or legal
representatives.

5.2.4, As of the Effective Date of the Settlement, all Class Members, and
anyone claiming by, through and/or on behalf of any of them, will be
forever barred and enjoined from asserting any and/or all Released
Claims, but not Reserved Claims, against the (a) Participating
Defendant Released Parties and/or the (b) Participating Insurer
Released Parties only to the extent of any policy issued or allegedly
issued by a Participating Insurer alleged to provide insurance to a
Participating Defendant, whether as a named or additional insured.

5.2.5. Each Class Member represents and warrants that it has not assigned
and will not assign any claims relating to Chinese Drywall it may
possess against any Participating Defendant or Participating Insurer to
any person or entity, except as set forth below and in Exhibit 4. This
representation and warranty shall not, however, apply to a Class
Member who has had their Affected Property remediated by.a

13

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 15 of 42

5.2.6.

Participating Defendant and assigned some or all of their claims in
connection with this remediation.

As of the Effective Date of the Settlement, each Class Member
receiving an allocated settlement payment under Section 16 shall:
(i) DEFEND, INDEMNIFY (INCLUDING ATTORNEY FEES)
AND HOLD HARMLESS each of the Participating Defendant
Released Parties and Participating Insurer Released Parties from and
against (a) any and all Chinese Drywall-related claims involving that
Affected Property brought or otherwise asserted by, on behalf of,
through, or deriving from other owners or occupiers of the Affected
Property or from such Class Member’s lenders, heirs, executors,
representatives, attorneys or former attorneys, successors, employers,
insurers, employers’ insurers, health insurers, health care providers,
assignees, subrogees, predecessors in interest, successors in interest,
beneficiaries or survivors; and (b) any claims for contribution,
common law indemnity, contractual indemnity, and/or subrogation,
whether arising under tort, contract or otherwise, brought or otherwise
asserted against the Participating Defendants and/or Participating
Insurers as a result of such Class Member’s or a surety's continued
pursuit of Chinese Drywall-related claims related to that particular
Affected Property; and (ii) reduce or satisfy any judgment involving
that Affected Property against the Participating Defendants and/or
Participating Insurers under applicable federal or state law, whether it
be pro rata, pro tanto, and/or by set off, to reduce or extinguish
(a) any and all Chinese Drywall-related claims, other than Reserved
Claims, involving that Affected Property brought or otherwise asserted
by, on behalf of, through, or deriving from other owners or occupiers
of the Affected Property or from such Class Member’s lenders, heirs,
executors, representatives, attorneys or former attorneys, successors,
employers, insurers, employers’ insurers, health insurers, health care
providers, assignees, subrogees, predecessors in interest, successors in
interest, beneficiaries or survivors; and (b) any claims for contribution,
common law indemnity, contractual indemnity, and/or subrogation,
whether arising under tort, contract or otherwise, brought or otherwise
asserted against the Participating Defendants and/or Participating
Insurers as a result of such Class Member’s or a surety's continued
pursuit of Chinese Drywall-related claims related to that particular
Affected Property. To the extent the Class Member is also a
Participating Defendant with respect to a particular Affected Property,
the total amount of the defense and indemnity obligation that will be
due under this provision is limited to the amount the Class Member
actually receives pursuant to Section 16 for this Affected Property.

14

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 16 of 42

5.3. Participating Defendants’ Releases

5.3.1. Except as provided in Section 5.6, as of the Effective Date of the
Settlement, each Participating Defendant and any person or entity
claiming by, through, and/or on behalf of a Participating Defendant
hereby fully, finally and forever releases, remises, waives, surrenders,
foregoes, gives up, abandons, cancels, acquits, and forever discharges
any and all Released Claims against all Class Members, all
Participating Defendant Released Parties and all Participating Insurer
Released Parties.

5.3.2. . Except as provided in Section 5.6, as of the Effective Date of the
Settlement, each Participating Defendant and any person or entity
claiming by, through or on behalf of a Participating Defendant hereby
fully, finally and forever releases, remises, waives, surrenders,
foregoes, gives up, abandons, cancels, acquits and forever discharges
any and all claims against the Knauf Released Parties to recover on
claims arising out of or related to any Affected Properties, and the
payments for those Affected Properties under this Settlement by such
Participating Defendant. The Participating Defendants’ release of the
Knauf Released Parties is contingent upon Knauf providing a
reciprocal release to the Participating Defendant Released Parties as
provided in Section 5.5. Knauf’s release will not release any claim
Knauf may have to participate in this Settlement as the assignee of a
Class Member. The Participating Defendants’ obligations under this
Agreement, including their release of the Knauf Released Parties, are
contingent on the entry of a mutually satisfactory allocation plan
pursuant to Section 16.1.

5.3.3. To the extent a Participating Defendant has remediated, settled or
repurchased an Affected Property, and has the right to recover from
other Participating Defendants for the costs associated with this
remediation, settlement or repurchase that Participating Defendant
may participate in this Settlement as a Class Member for that Affected
Property, or opt-out those claims as provided in this Settlement.
However, in the event that a Participating Defendant opts-out as a
Class Member for any Affected Property, that Participating Defendant
shall be permitted to pursue claims against other Participating
Defendants in an attempt to recover the costs associated with this
remediation, but shall be precluded from pursuing any claims against
the Participating Defendants and/or Participating Insurers for defense
costs and/or insurance coverage as an additional insured on any other
Participating Defendants’ insurance policies.

5.3.4. Each Participating Defendant represents and warrants that it has not
assigned and will not assign any claims relating to Chinese Drywall it
may possess against any Participating Insurer to any person or entity,

15

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 17 of 42

except as set forth below and in Exhibit 4, assigning certain claims to
the PSC.

5.3.4.1. PSC Assignments. The Participating Defendants and
Participating Insurers listed on Exhibit 4 assign to the PSC
any and all claims for insurance coverage (excluding
reinsurance claims), claim handling, defense, indemnity,
contribution, or bad faith claims handling, whether
statutory or common law and related to Chinese Drywall
against the non-participating entities listed in Exhibit 4 for
all claims related to any policies which may provide
coverage to the Participating Defendant listed. The PSC
will be entitled to separately petition for an award of
attorney fees and reimbursement of reasonable costs from
any additional recoveries obtained through these
assignments. However, any such award shall not be paid to
the Participating Defendant and/or Participating Insurer that
provided the Assignment.

5.4, Participating Insurers’ Releases

5.4.1.

5.4.2.

Except as provided in Section 5.6, as of the Effective Date of the
Settlement, each Participating Insurer and any person or entity
claiming by, through, and/or on behalf of a Participating Insurer
hereby fully, finally and forever releases, remises, waives, surrenders,
foregoes, gives up, abandons, cancels, acquits, and forever discharges

any and all Released Claims against all Class Members, all.

Participating Defendant Released Parties and all other Participating
Insurer Released Parties.

Except as provided in Section 5.6, as of the Effective Date of the
Settlement, each Participating Insurer and any person or entity
claiming by, through or on behalf of a Participating Insurer hereby
fully, finally and forever releases, remises, waives, surrenders,
foregoes, gives up, abandons, cancels, acquits, and forever discharges
any and all claims whatsoever against the Knauf Released Parties, to
recover on claims arising out of or related to any Affected Properties,
and the payments for those Affected Properties under this Settlement
by such Participating Insurer. The Participating Insurers’ release of
the Knauf Released Parties is contingent upon Knauf providing a
reciprocal release to the Participating Insurer Released Parties as
provided in Section 5.5. Knauf’s release will not release any claim
Knauf may have to participate in this Settlement as the assignee of a
Class Member. : The Participating Insurers' obligations under this
Agreement, including their release of the Knauf Released Parties, are
contingent on the entry of a mutually satisfactory allocation plan under
Section 16.1.

16

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 18 of 42

5.4.3. Each Participating Insurer represents and warrants that it has not
assigned and will not assign any claims relating to Chinese Drywall it
may possess against any Participating Defendant or Participating
Insurer to any person or entity, except to the extent of a written
settlement agreement regarding a remediated Affected Property that
was executed before the Effective Date of this Settlement and except
as set forth in Sections 5.3.4.1 and 5.6 and in Exhibit 4.

5.5. Knauf Release

5.5.1. Except as provided in Section 5.6, as of the Effective Date of the
Settlement, Knauf and/or any person or entity who or which derives
any right or claim for, by and/or through Knauf, shall execute an
agreement that fully, finally and forever releases, remises, waives,
surrenders, foregoes, gives up, abandons, cancels, acquits and forever
discharges any and all claims whatsoever against all Participating
Defendant Released Parties and all Participating Insurer Released
Parties to recover on claims arising out of or related to any Affected
Properties, and the payments for those Affected Properties under the
Knauf Class Settlement by Knauf, including but not limited to those
for subrogation, implied or express indemnification, contribution, the
inability to seek damages from any third parties for monies paid to
settle and/or resolve claims, common law and statutory bad faith
and/or any other alleged misconduct, omissions, or wrongdoing of any
kind, of whatever nature or source, known or unknown, that Knauf
ever had, now has, could have had, may have in the future, or that it
may acquire, against any Participating Defendant and/or Participating
Insurer. However, this release is not intended to release any claim
Knauf may have to participate in this settlement as the assignee of a
Class Member.

5.6. Reserved Claims

5.6.1. This Settlement does not release any claims or defenses whatsoever
that any Class Member, Participating Defendant, or Participating
Insurer may have against any Non-Participating Defendant, or with
respect to any insurance policy or policies issued to a Non-
Participating Defendant, even if issued by a Participating Insurer,
arising out of, in any manner related to, or connected in any way with
Chinese Drywall. The Parties will not interfere with any Class
Member’s, Participating Defendant’s, or Participating Insurer’s rights
or efforts to assert claims and obtain recoveries against any Nor-
Participating Defendant arising out of, in any manner related to, or
connected in any way with Chinese Drywall or those claims assigned.
in Exhibit 4. :

17

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 19 of:42

5.6.2. The Parties expressly reserve all claims or defenses against Class
Members who opt-out from this Settlement. Further, in the event a
Class Member opts out from this Settlement, Participating Defendants
and Participating Insurers reserve all claims, defenses and coverage
positions against that Class Member, against each other, and against
any person or entity alleged to have any liability related to the Chinese
Drywall in the Affected Property of that opt-out Class Membér
(including, without limitation, builders, developers, installers,
suppliers, distributors, importers, exporters, manufacturers, Knauf,
etc.), and that person's or entity's insurers (including, without
limitation, under any policy under which a Participating Defendant
claims to be an additional insured), whether or not that person or entity
might also be a Participating Defendant or Participating Insurer, but
only to the extent the claims arise out of the Affected Property opted-
out by that Class Member. Notwithstanding, anything in this
Settlement, or in Exhibit 3, it is the intent of this Settlement that the
Parties retain all rights and coverage positions as to opts outs that the
Parties possessed prior to the Effective Date of this Settlement, and the
Parties reserve all claims, defenses and coverage positions relating to
any opt-outs.

To the extent an opt-out Class Member is also a Participating
Defendant for a remediated, settled or repurchased Affected Property
that Participating Defendant shall be precluded from pursuing any
claims against the other Participating Defendants and/or Participating
Insurers for defense costs and/or insurance coverage as an additioiial
insured on any Participating Defendants' insurance policy. This
remediating Participating Defendant, however, reserves all other
claims and defenses, relating to that opted-out Affected Property, from
and against any person or entity alleged to have liability related to the
Chinese Drywall in that Affected Property (including, without
limitation, installers, suppliers, distributors, importers, exporters,
manufacturers, and Knauf), along with that person's or entity's
insurers, whether or not that person or entity might also be a
Participating Defendant or Participating Insurer. The defense,
indemnity and hold harmless provisions of Section 5.2.6 shall not
apply to any claims reserved as a result of an opt-out.

5.6.3. This Settlement does not release any claims whatsoever that any
Participating Defendant or Participating Insurer may have against
another Participating Defendant or Participating Insurer to the extent
that those claims are reserved in Exhibit 3 of this Settlement or
assigned in Exhibit 4 of this Settlement. In addition, this Settlement
does not release or waive any defenses or coverage positions
whatsoever that any insurer, whether a Participating Insurer or not, has
to those claims reserved in Exhibit 3 and/or assigned in Exhibit 4.

18

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 20 of 42

5.6.4. Except for the release of the Knauf Released Parties as provided in
Sections 5.3.1 and 5.4.1, the Parties do not release any claims against
persons or entities who are manufacturers of Chinese Drywall,
including, but not limited to Beijing New Building Materials Public
Ltd. Co.; CNBM; Taishan Gypsum Co., Ltd. f/k/a/ Shandong Taihe
Dongxin Co., Ltd.; Taian Taishan Plasterboard Co., Ltd.; Pingyi
Zhongxin Paper-Faced Plasterboard Co., Ltd. f/k/a Shandong
Chenxiang Building Materials Co., Ltd.; Crescent City Gypsum, Inc.;
The China Corporation, Ltd.; Run & Fly (Jinan) New Building
Material Co., Ltd.; Baier Building Materials Co., Ltd., and any other
manufacturer of Chinese Drywall. To the extent this Agreement is
terminated under Section 13, or a mutually satisfactory allocation plan
is not approved pursuant to Section 16.1, all claims against Knauf are
also reserved. ,

5.6.5. This Settlement does not release any rights, claims or causes of action
any Participating Insurer may have arising out of the payment of
claims or settlements made to or on behalf of insureds which are not
identified as a Participating Defendant on Exhibit 1. Specifically,
nothing in this Settlement shall in any way affect the rights identified
in or release any claims preserved in Sections 3.2 and 3.5.2 of the
“Amended Stipulation and Agreement of Settlement” among Banner,
its insurers and class members, dated August 8, 2011.

5.6.6. This settlement does not release any rights, claims or causes of action
for reinsurance recovery that any Participating Insurer may have,
including, but not limited to those against any other Participating
Insurer acting in its capacity as a reinsurer or retrocessionaire for any
claims paid, settled or released herein.

5.6.7. This Settlement does not release any rights, claims or causes of action
whatsoever that a Class Member may have against any performance
and payment surety bond, including the surety bond in Hobbie, et al. v.
RCR Holdings, Il, LLC, et al., No. 10-1113 (E.D. La.).

5.6.8. The releases set forth in Sections 5.3.2 and 5.4.2 are not intended to
release, nor shall they operate to release: (a) any obligations of Knauf
under the Knauf Class Settlement; (b) any obligations of Knauf under
any existing or later executed settlement agreements between Knauf
and any Participating Defendant, including, without limitation, any
agreements with any Participating Defendant that has remediated or
paid to remediate any portion of one or more Affected Properties; (c)
any unresolved claims between Knauf and any Participating Defendant
that has remediated or paid to remediate one or more Affected
Properties, including, without limitation, any claims a Participating
Defendant may have against Knauf by virtue of any settlement with a
property owner or any assignment of claims from a property owner

19

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 21 of 42

related to the remediation of any Affected Property; (d) any
responsibility of Knauf to Participating Defendants arising out of or
related to claims of persons or entities who do not fall within the
definition of a “Class Member” as that term is defined in either Section
1.1.1 of this Agreement or Section 1.1.2 of the Knauf Class
Settlement; and (e) claims, defenses and coverage positions of a
Participating Defendant arising out of or related to an Affected
Property connected in any way with a person or entity who opts out of
this Settlement as reserved in Section 5.6.2.

5.6.9. The release contemplated by Section 5.5.1 is not intended to release,
nor shall it operate to release: (a) any obligation of any Participating
Defendant or Participating Insurer under any existing or later executed
settlement agreements between Knauf and any Participating Defendant
or Participating Insurer; (b) any unresolved claims between any
Participating Defendant or Participating Insurer and Knauf related to
Affected Properties as to which Knauf is not receiving a release under
Section 5.6.8(c); (c) any responsibility of any Participating Defendant
or Participating Insurer to Knauf arising out of or related to claims of
persons or entities who do not also fall within the definition of a "Class
Member" as that term is defined in either Section 1.1.1 of this
Agreement or 1.1.2 of the Knauf Class Settlement; and (d) claims and
defenses of Knauf arising out of or related to an Affected Property
connected in any way with a person or entity who opts out of this
Settlement as reserved in Section 5.6.2.

5.6.10. Each Participating Insurer reserves the right to collect a deductible, if
due (and not otherwise expressly waived or resolved in writing by the
Participating Insurer), or to enforce a fronting policy. Each
Participating Defendant reserves the right to assert defenses or
coverage positions to a Participating Insurer's attempt to collect a
deductible allegedly due or to enforce a fronting policy. ‘:

5.6.11. The Parties expressly reserve all claims or defenses against a
Participating Defendant or a Participating Insurer who withdraws from
this Settlement. Further, in the event a Participating Defendant or a
Participating Insurer withdraws from this Settlement, all other
Participating Defendants and Participating Insurers reserve all claims,
defenses and coverage positions against that withdrawing Participating
Defendant or Participating Insurer, and if a Participating Defendant,
that withdrawing Participating Defendant's insurers, whether 4
Participating Insurer or not. Notwithstanding, anything in this
Settlement, or in Exhibit 3, it is the intent of this Settlement that the
Parties retain all rights and coverage positions as to withdrawals that
the Parties possessed prior to the Effective Date of this Settlement, and
the Parties reserve all claims, defenses and coverage positions relating
to any withdrawals.

20

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 22 of 42

Certification of Federal Rule of Civil Procedure 23(b)(3) Settlement Class and
Related Motions

6.1. This Settlement shall be subject to approval of the Court.

6.2. Within ten (10) days of the Execution Date of this Settlement, the PSC will move
for an order:

6.2.1. Preliminarily certifying the Class and approving the Settlement (the
“Preliminary Approval Order”);

6.2.2. Staying all claims in the Litigation and CDW-Related Actions as to all
Participating Defendants and their Participating Insurers, except for
Reserved Claims; and oN

6.2.3. Declaring that, in entering into the Settlement, the Parties are acting in
good faith and in compromise of disputed claims, and therefore, that
the Settlement and the Preliminary Approval Order cannot be used as
evidence in any other claim, lawsuit or other proceeding relating to
allegations of harm, including bodily injury or property damage,
alleged to be associated with defective drywall manufactured in China
(in whole or in part), whether offered as evidence of liability, of
insurance coverage, or of good or bad faith in the treatment of any
party or non-party to the Settlement or in any fashion whatsoever. ©

6.3. The PSC shall file a separate motion, which the Participating Defendants and
Participating Insurers shall join, seeking the following Orders, which are to
remain in force until the issuance of the Order and Judgment:

6.3.1. Approval of an Order to stay all future payments under insurance
policies issued by Participating Insurers to Participating Defendants,
other than payments to counsel engaged by Participating Insurers to
defend Participating Defendants, payments of costs related to
defending the Participating Defendants, payments in satisfaction of the
settling Participating Defendants’ obligations under prior settlements
or pending settlements, or claims related to opt-outs or Reserved
Claims under this Settlement, or claims not related to Chinese Drywall
and payments made pursuant to Section 4.1.1;

6.3.2. Approval of an Order or Orders to stay all claims as to all Participating
Defendants and Participating Insurers in the Litigation and all CDW-
Related Actions, except for Reserved Claims; and

6.3.3. Approval of an Order or Orders staying and enjoining all claims and
cases involving Chinese Drywall, except for Reserved Claims, in
which any person or entity claims to be an insured, additional insured,
by definition, endorsement or otherwise, third-party beneficiary, or

21

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 23 of 42

named insured under any insurance policy issued to any Participating
Defendant.

6.4. Any one of the Participating Defendants or Participating Insurers shall have the
right to withdraw from the Settlement if the Court does not issue any of the
requested orders, if the Class is not certified, or as provided in Section 8.3.2.

6.5. The Parties will stipulate to the Court in the request for entry of the Preliminary
Approval Order that (i) the Class is being certified for settlement purposes only
pursuant to the Settlement, (ii) the Participating Defendants and Participating
Insurers reserve the right to object to certification in the event this Settlement is
terminated for any reason, including termination pursuant to Section 13, and (iii)
this Settlement shall have no precedential effect with regard to certification of a
litigation class that may arise if this matter is not fully and completely resolved
‘through this Settlement, or otherwise.

Notice to Class Members

7.1. Type of Notice Required

7ALL. Within thirty (30) days after entry of the Preliminary Approval Order
preliminarily certifying the Settlement Class as defined in Section
1.1.1, Settlement Class Counsel will commence the Class Settlement
Notice Period by disseminating, or, for purchased media, initiating
efforts to disseminate, the Class Settlement Notice (“Notice”) by:

7.1.1.1. First-class mail, postage prepaid, to the last known address
of all Class Members who are identifiable through the
Plaintiff Profile Forms and their counsel;

7.1.1.2. First-class mail, postage prepaid, to the last known address
of all Class Members with claims in all CDW-Related
Actions and their counsel, involving those Class Members
ascertainable from available records, such as the notices
required by Fla. Stat. § 558 et. seq.;

7.1.1.3. Publication in local newspapers in markets to be identified
at least 5 days before the hearing on any motion for
preliminary approval of this Settlement;

7.1.1.4. Publication in periodicals to be identified at least 5 days
before the hearing on any motion for preliminary approval
of this Settlement; :

7.1.1.5. Publication in community newspapers throughout those
markets to be identified at least 5 days before the hearing
on any motion for preliminary approval of this Settlement

22

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 24 of 42

with substantial African American and Hispanic
populations;

7.1.1.6. Providing a press release to include national press release
distribution, Twitter post to reporters, video distribution of
TV spot, selected image distribution, and distribution to
select microlists including Construction & Building,
Banking, and Real Estate;

7.1.1.7. Publication on 30 second television spots for two to three
weeks in each of the markets identified in Section 7.1.1.3;

7.1.1.8. Publication in on-line media including 24/7 Media
Network, Quadrant One, Yahoo and Facebook;

7.1.1.9. Providing a copy of the Notice and requesting that it be
posted at the United States District Court, Eastern District
of Louisiana;

7.1.1.10. Providing a copy of the Notice and requesting that it be
posted at each courthouse in which the CDW-Related
Actions are pending;

7.1.1.11. Providing a copy of the Notice and requesting that it be
posted on the Court’s Chinese Drywall MDL website, the
CPSC website, and the following state departments of
health websites: Florida Department of Health;

7.1.1.12. Providing a copy of the Notice and requesting that it be
posted at such other public places as may be ordered by the
Court or by request of the Parties; and

7.11.13. As the Court may direct, in accordance with the
requirements of Federal Rule of Civil Procedure 23 (c)(2).

8. Opt-Outs and Withdrawals

8.1. Opt-Out Period

8.1.1. Following the Class Notice, Class Members (including Participating
Defendants in their capacity as Class Members) will have sixty (60)
days (or such different period as the Court may direct) to opt-out of the
Settlement in accordance with Section 8.2. Class Members with
claims involving more than one Affected Property may opt-out on a
property-by-property basis. A Participating Defendant who opts out in
its capacity as a Class Member on any Affected Property may still
participate in this Settlement in its capacity as a Participating
Defendant, subject to its right to withdraw from or cancel its

23

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 25 of 42

obligations under this Settlement pursuant to Sections 8.3.2 or 13.2
below. At the end of the sixty (60) day period (and provided the
Settlement is finally approved by the Court), all Class Members
(including Participating Defendants in their capacity as Class Members
but not in their capacity as Participating Defendants) who have not
opted out of the Class will be deemed to be bound by the Settlement,
and the relief provided by the Settlement will be their sole and
exclusive remedy for their claims arising out of, in any manner related
to, or in any way connected with Chinese Drywall, except to the extent
of Reserved Claims.

8.2. Opt-Out Process

8.2.1. Any Class Member wishing to opt-out of the Settlement must notify
Plaintiffs’ Lead Counsel, Arnold Levin, Levin, Fishbein, Sedran &
Berman, 510 Walnut Street, Suite 500, Philadelphia, PA 19106, and
Russ Herman of Herman Herman & Katz LLP, 820 O’Keefe Avenue,
New Orleans, LA 70113, in writing, postmarked no later than sixty
(60) days following the Class Notice. To be effective, the opt-out
notice must set forth the full name and current address of the Class
Member seeking to opt-out, the address of the property allegedly
damaged by Chinese Drywall and/or the address of the property from
which the Class Member alleges injurious exposure to Chinese
Drywall, and to the best of the Class Member's knowledge, the
identities of every purchaser, supplier, marketer, installer, builder,
developer and its/their insurers, and any other Participating Defendant
and Participating Insurer against which the Class Member intends to
pursue his, or her, or its claims. The opt-out notice must be signed by
the Class Member, and contain a sentence stating: “The undersigned
hereby opts out from the Builder, Installer, Supplier and Participating
Insurer Settlement Class in the Chinese Drywall Action.”

8.2.2. For each property identified on an opt-out notice, the Class Member
shall use its best efforts to confirm and further identify every builder,
developer, purchaser, supplier, distributor, marketer, installer, and
its/their insurers and any other Participating Defendant and
Participating Insurer pertaining to such property.

8.2.3. Arnold Levin and Russ Herman shall provide a copy of any opt-outs to
all Liaison Counsel and file a copy with the Court no later than
twenty-four (24) hours after receipt of the opt-out through LexisNexis
File & Serve.

8.2.4. This Settlement is an integral part of the Knauf Class Settlement. A
Class Member who participates in the Knauf Class Settlement also
must, if eligible, participate in this Settlement. The Notice shall advise
Class Members that if eligible to participate in the Knauf Class

24

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 26 of 42

Settlement, they can receive no benefits under the Knauf Class
Settlement if they opt out of this Settlement. Any opt out from this
Settlement by a Class Member otherwise eligible to participate in the
Knauf Class Settlement will be invalid if the Class Member did not
timely opt out of the Knauf Class Settlement.

8.3. Rights With Respect to Opt-outs

8.3.1. Consistent with the Court’s oversight of the process and its inherent
jurisdiction, the Parties recognize that the Court may use its good
offices to attempt to resolve any opt-out.

8.3.2. The Parties agree and acknowledge that any opt-out by a Class
Member may materially alter the benefit of each Party’s respective
bargain, so each Participating Defendant or Participating Insurer shall
have the right to withdraw from the Settlement in his, her or its sole
discretion if the opt-out relates to an Affected Property of that
Participating Defendant. This right to withdraw from the Settlement
must be exercised by written notice to the Court and filing with
Lexis/Nexis File & Serve no earlier than ten (10) days after
notification of such opt-outs, if any, and no later than seven (7) days
before the Fairness Hearing to consider this Settlement. If the
withdrawal of a Participating Defendant or Participating Insurer results
in any other Participating Defendant or Participating Insurer choosing
to withdraw, the other Participating Defendant or Participating Insurer
shall have two (2) business days from the service of such withdrawal
to itself withdraw from this Settlement by filing written notice with the
Court and filing with Lexis/Nexis File & Serve. A Participating
Defendant who is a Class Member for a remediated or repurchased
Affected Property may continue as a Class Member for those Affected
Properties even if it withdraws as a Participating Defendant from this
Settlement.

8.3.3. Any party exercising its right to opt-out shall have a right to rescind its
opt-out and participate in the Settlement by notifying Plaintiffs’ Lead
Counsel, Arnold Levin, Levin, Fishbein, Sedran & Berman, 510
Walnut Street, Suite 500, Philadelphia, PA 19106 and Russ Herman of
Herman Herman & Katz LLP, 820 O’Keefe Avenue, New Orleans,
LA 70113, in writing, postmarked no later than twenty-one (21) days
before the Final Fairness Hearing. To be effective, the rescission of
the opt-out notice must set forth the full name and current address of
the Class Member seeking to rescind the opt-out, be signed by the
Class Member, provide the address of the property allegedly damaged
by Chinese Drywall and/or the address of the property from which the
Class Member alleges injurious exposure to Chinese Drywall, and
contain a sentence stating: “The undersigned hereby rescinds its opt-

25

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 27 of 42

out from the Builder, Installer, Supplier and Participating Insurer
Settlement Class in the Chinese Drywall Action.”

8.3.4. Amold Levin and Russ Herman shall provide a copy of any rescission
of opt-outs to all Liaison Counsel and file a copy with the Court no
later than twenty-four (24) hours after receipt of the rescission of opt-
out through LexisNexis File & Serve.

8.4. Rights With Respect to Surety Bonds

8.4.1. Any Participating Defendant or Participating Insurer may withdraw
from the Settlement in the event any Class Member is still pursuing a
claim against any performance and/or payment surety bond, including
the performance or surety bond at issue in Hobbie, et al. v. RCR
Holdings, If LLC, et al., No. 10-1113 (B.D. La. ) and that
Participating Defendant, or its Participating Insurer, is or can be the
subject of a claim or indemnity obligation brought by either: (1) the
issuer of that surety or performance bond, or (2) any other party as a
result of being sued by the issuer of the surety or performance bond to
recover amounts that are or may be paid under that performance or
surety bond.

9, Objections

9.1. | Any Class Member who objects to certification of the Class and/or to approval of
this Settlement, any terms hereof, or the approval process must make that
objection by the following procedure:

9.1.1. The objection must be in writing;

9.1.2. The objection must set forth all objections and the reasons therefor,
and a statement whether the Class Member intends to appear at the
Fairness Hearing either with or without the objector’s counsel. The
objection must identify any witnesses intended to be called, the subject
area of the witnesses’ testimony, and all documents to be used or
offered into evidence at the Fairness Hearing;

9.1.3. The objection must be signed by the Class Member and his, her or its
counsel; an objection signed by counsel alone shall not be sufficient;

9.1.4. The objection must contain the caption of the Litigation and include
the name, mailing address, e-mail address, if any (an e-mail address is
not required), and telephone number of the objecting Class Member;
and

9.1.5. The objection shall be mailed to Plaintiffs’ Lead Counsel, Amold
Levin, Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite
500, Philadelphia, PA 19106 and Russ Herman of Herman Herman &

26

Case 2:09-md-02047-EEF-MBN Document 14373-5 ‘Filed 05/18/12 Page 28 of 42

Katz LLP, 820 O’Keefe Avenue, New Orleans, LA 70113, in writing,
postmarked no later than sixty (60) days following the Class Notice.

9.1.6. Amold Levin and Russ Herman shall provide a copy of all objections
to other liaison counsel and file any objections with the Court no later
than seventy (70) days after commencement of the Class Settlement
Notice Period. The objection must be filed in MDL No. 2047 and
served through LexisNexis File & Serve.

9.2. Failure to comply timely and fully with these procedures shall result in the
invalidity and dismissal of any objection. Class Members who fail to file and
serve timely written objections in accordance with Section 9.1 shall be deemed to
have waived any objections, shall not be heard at the Fairness Hearing, and shall
be foreclosed from making any objection (whether by appeal or otherwise) to the
Settlement.

9.3. The PSC, Participating Defendants and Participating Insurers shall file any
response to the objections with the Court no later than five (5) days before the
date of the Fairness Hearing.

10. Fairness Hearing

10.1. After close of the Class Settlement Notice Period, the PSC shall move for final
approval of the Settlement and final certification of the Class.

10.1.1. As part of that motion, the Parties shall:

10.1.1.1. Move the Court to enter the Order and Judgment described
in 1.14;

10.1.1.2. Move the Court to enjoin and forever bar any and all Class
Members, including, but not limited to, those who have not
properly opted out of the Class, from maintaining,
continuing, prosecuting, and/or commencing the Litigation,
CDW-Related Actions, Related Claims, or any action,
pending or future, against the Settling Parties (but
excluding any Reserved Claims) that arises from, concerns,
or otherwise relates, directly or indirectly, to Chinese
Drywall; and

10.1.1.3. Jointly submit to the Court, or the appropriate forum, a
proposed order dismissing with prejudice all claims and
actions against the Participating Defendants and
Participating Insurers in the Eastern District of Louisiana
and all other CDW-Related Actions in state court, federal
court, international tribunal, or in any arbitral forum, with
each party to bear his, her or its own costs.

27

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 29 of 42

10.1.2. Any Participating Defendant and any Participating Insurer shall have
the right to withdraw from the proposed Settlement if the Court does
not issue all of the requested orders and/or injunctions.

10.2. At the Fairness Hearing the Court shall be requested to, inter alia, (i) consider any
properly filed objections to the Settlement, (ii) determine whether the Settlement
is fair, reasonable, and adequate, was entered into in good faith and without
collusion, and should be approved, (iii) provide findings in connection therewith,
and (iv) enter a proposed Order and Judgment. :

11. Dismissals

11.1. Within thirty (30) days of the Effective Date, the PSC and/or counsel for each
Class Member shall file motions to dismiss with prejudice, with each party to bear
his, her or its own costs, the Litigation, all CDW-Related Actions by Class
Members which are pending in any court, except for Reserved Claims, but only to
the extent that they assert claims against the Participating Defendants and their
insurers or against Participating Insurers, and the PSC shall use its best efforts to
assist the Participating Defendants and their insurers and the Participating Insurers
in obtaining the dismissal with prejudice of any other CDW-Related Actions
maintained by any Class Member, with each party to bear his, her or its own
costs, but only to the extent that they assert claims against the Participating
Defendants and their insurers and/or Participating Insurers, whether in state court,
federal court or any arbitral foram.

12. Bar Order

12.1. As part of the Order and Judgment, the Court shall issue a bar order and
permanent injunction against any and all pending or future claims or lawsuits,
other than Reserved Claims or assigned claims on Exhibit 4, by any and all Class
Members who do not opt-out against the Participating Defendants and
Participating Insurers in connection with claims arising out of, or otherwise
related to, Chinese Drywall purchased, imported, supplied, distributed, marketed,
installed, used, sold, and/or delivered, or alleged in any way to be within the
responsibility of any Participating Defendant. ,

12.2. The bar order and permanent injunction shall:

12.2.1. Except for any Reserved Claims or assigned claims on Exhibit 4;
enjoin and forever bar any and all Class Members or any entity or
person claiming through a Class Member who does not opt-out from
commencing and/or maintaining any action, and/or asserting any
claim, suit, counterclaim or cross-claim, legal or otherwise, against the
Participating Defendants and Participating Insurers arising out of, or
otherwise relating to Chinese Drywall.

12.2.2. Except for any Reserved Claims or opt-outs, bar the assertion by any
entity or person against the Participating Defendants and/or

28

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 30 of 42

Participating Insurers of any contribution, indemnification,
subrogation, or other claims concerning (i) Chinese Drywall, the
Litigation, CDW-Related Action, Released Claims or Related Claims,
or (ii) this Settlement.

12.3. This provision is not intended to prevent or impede the enforcement of claims or
entitlements to benefits under this Settlement.

13. Termination of this Settlement

13.1. This Settlement shall be terminated and cancelled upon any of the following
events: :

13.1.1. The Court declines to enter the Preliminary Approval Order or the bar
order described in Section 12;

13.1.2. The Fairness Hearing is not held by the Court;

13.1.3. The Order and Judgment is not entered by the Court, or is reversed by
a higher court, or is entered in a form inconsistent with the terms of
this Settlement; or

13.1.4... The Court declines to dismiss the Participating Defendants and
Participating Insurers with prejudice.

13.2, Any Participating Defendant and/or any Participating Insurer may, at their sole
and exclusive discretion and option, withdraw from and cancel their obligations
under this Settlement, except for their obligations under Section 4.1.1, upon any
of the following events:

13.2.1. The Class Settlement Notice does not comply with the Order of the
Court; ,

13.2.2. Any Participating Defendant or Participating Insurer exercises his, her
or its rights pursuant to Section 8.3.2;

13.2.3. Any Participating Defendant and/or Participating Insurer and/or the
PSC may, at their sole and exclusive discretion and option, withdraw
from and cancel their obligations under this Settlement, except for
their obligations under Section 4.1.1, upon any of the following
events:

29

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 31 of 42

13.2.3.1. The Parties fail to reach a plan for allocation of the
Settlement Funds that is satisfactory to that Participating
Defendant and/or Participating Insurer and/or the PSC; or. :

13.2.3.2. Knauf terminates the Knauf Class Settlement because the
condition set forth in Section 2.1 of the Knauf Class
Settlement has not been satisfied or the Knauf Class
Settlement is terminated for any other reason specified in
that agreement.

13.2.4. The PSC, on behalf of the Class, materially breaches the Settlement
and such breach materially frustrates the purposes of this Settlement;

13.2.5. The Litigation and CDW-Related Actions against the Participating
Defendants and Participating Insurers are not dismissed with
prejudice;

13.2.6. The bar order and permanent injunction barring and preventing each
and every Class Member, or any entity or person claiming through a
Class Member, including, but not limited to, those who have not
properly opted out of the Class, from maintaining, continuing;
prosecuting and/or commencing any subsequent claims or causes of
action in law or equity that arise from or are related to, directly or
indirectly, Chinese Drywall, the Litigation, the CDW-Related Actions,
and/or any Released Claims or Related Claims is not entered by the
Court in the Order and Judgment. However, such injunction shall not
prevent any of the Participating Defendants or Participating Insurers
from asserting their Reserved Claims, or from monitoring or
participating in the Litigation, at their discretion, so as to protect their
rights before the Settlement is Final;

13.2.7. The Court does not enter the Order described in paragraph 6.2.3
above; or

13.2.8. This Settlement is changed in any material respect, except by written
consent of the Parties.

14. Severability

14.1. If any Participating Defendant or Participating Insurer chooses to withdraw from
the Settlement in accordance with Sections 8.3.2 and 13.2, all remaining
provisions of this Settlement shall remain in full force and effect, except Section
4.1.1, will be amended to exclude the withdrawing Participating Defendant’s and
Participating Insurer’s settlement contribution nunc pro tunc.

30

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 32 of 42

15. Court to Retain Jurisdiction to Implement and Enforce Settlement Agreement

15.1. Notwithstanding any other provision of this Settlement, the Court shall retain
continuing jurisdiction over the Litigation, the Class, the Class Members, and the
Settlement for the purposes of administering, supervising, construing and
enforcing same, and also continuing and exclusive jurisdiction over the
Settlement Funds and the distribution of same to Class Members. This Section
shall not be construed as a finding, admission, or consent that the Court or any
other court in the State of Louisiana has general or specific personal jurisdiction
over any Participating Defendant or Participating Insurer, nor as a finding,
admission, or consent that the law of the State of Louisiana shall apply to any
aspect of the Litigation or this Settlement.

16. Allocation of Payments

16.1. This Agreement is contingent on an allocation plan that is mutually acceptable to
the PSC, Participating Defendants, Participating Insurers and Knauf. The Court
shall establish a procedure for allocation of the Settlement Funds among the
various interests who have claimed entitlement to the same. An Allocation
Committee, which will include representatives appointed by the Court from the
PSC, the Participating Defendants, the Participating Insurers and Knauf, will be
appointed to make recommendations to the Court as to: (i) a fair and equitable
plan of allocation of the Settlement Funds; and (ii) the evidence that Class
Members will need to provide as part of their Proof of Claim to submit a valid
claim, including proof of reactive Chinese Drywall. The allocation will apportion
funds (including any funds to resolve claims for bodily injury and persoridl
property damages), without regard to fees or costs, by each Affected Property.
The Settlement Funds will be segregated into a builder fund, an installer fund, and
a supplier fund. A Class Member's entitlement to funds from each of these three
segregated funds will depend on whether that Class Member's builder, installer, or
supplier is a Participating Defendant. A Participating Defendant that is a builder
shall not receive any funds out of the builder fund. The funds that will ultimately
be distributed to Class Members out of each of these segregated funds may not
necessarily correlate to the actual contribution to this Settlement made by such
Class Members’ builder, installer or supplier. The PSC will recommend that the
Court appoint a Special Master to assist the Court in the allocation process. The
Court shall entertain interventions for the purpose of determining the allocation
and shall establish procedures by order setting forth the manner in which this
allocation shall proceed. The allocation by the Special Master may be appealed
solely to Judge Fallon, whose decision shall be final.

16.2. The Parties agree to comply with the provisions of Section 111 of the Medicare,
Medicaid & SCHIP Extension Act of 2007 as codified in 42 U.S.C. Sec.
1395y(b)(8) (“MMSEA”) and/or any state equivalents and/or other delegated
authority (collectively "Medicare").

31

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 33 of 42

16.2.1. This Settlement is based upon a good faith determination of the Parties
to resolve a disputed claim in which certain Class Members have
alleged bodily injury. The Participating Defendants and Participating
Insurers deny that there is any evidence of bodily injury arising from
or related to Chinese Drywall. Requests for compensation related to
bodily injury will be considered by the Special Master, who will have
the authority to allocate Settlement Funds towards such injury claims:
Any funds so allocated by the Special Master as part of the procedure
set forth in Section 16.1 above will be paid directly to the Class
Member, unless he or she is a Medicare Beneficiary as defined by
MMSEA and/or Medicare, in which case, such funds shall be paid into
an escrow account maintained by Settlement Class Counsel pending
resolution of that Class Member's Medicare Claim. Written
documentation from Medicare establishing resolution of any Medicare
claim shall be provided to Participating Defendants and Participating
Insurers prior to the distribution of any settlement proceeds from the
escrow account to the Class Member.

16.2.2. In instances where a Class Member requests compensation related to
bodily injury, that Class Member and Settlement Class Counsel shall
provide within ten (10) days of each such request notice of that request
and the following information to those individuals identified in Section
17.8 infra: (a) the Class Member’s identity (including his or her name,
date of birth, social security number, and gender) and (b) the
Participating Defendant(s) that allegedly caused that Class Member’s
bodily injury. Settlement Class Counsel shall ensure compliance with
these provisions.

16.2.3. Each Class Member who receives in excess of the MMSEA and/or
Medicare reporting dollar threshold in effect at the time the Settlement
is Final from the Settlement Funds (“Excess Recipient”) acknowledges
his/her duty to cooperate with Settlement Class Counsel, Participating
Defendants and Participating Insurers in order to permit Responsible
Reporting Entity(ies), as defined by MMSEA, to fulfill their reporting
obligations to comply with MMSEA and/or Medicare. Within ten (10)
days of the date on which the Excess Recipient receives an allocation
of any Settlement Funds for personal injury or bodily injury claims,
each Excess Recipient and his/her attorney agrees to provide the
Responsible Reporting Entity(ies) with any and all information
necessary for the Responsible Reporting Entity(ies) to comply with
MMSEA and/or Medicare, including his or her legal name, date of
birth, social security number, and gender, so as to allow the
Responsible Reporting Entity(ies), or their agents, to determine
whether the Excess Recipient is a Medicare Beneficiary, as defined by
MMSEA and/or Medicare (a “Triggering Claimant”). °

32

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 34 of 42

16.2.4. Each Triggering Claimant and his/her attorney shall provide any
additional information requested by the Responsible Reporting
Entity(ies) to comply with MMSEA and/or Medicare, including
without limitation the identity of his/her attorney, his/her address,
his/her ICD9 code (if applicable), and information related to the
injuries allegedly arising from Chinese Drywall. Such information
may be reported to the Centers for Medicare & Medicaid Services
(CMS), as well as certain agent(s) necessary to facilitate reporting to
CMS, pursuant to the Responsible Reporting Entity’s duty to comply
with MMSEA and/or Medicare.

16.2.5. Each Triggering Claimant represents and warrants that all bills, costs
or liens resulting from or arising out of alleged injuries, claims or
lawsuits related to Chinese Drywall are his/her responsibility to pay,
including, without limitation, all Medicare conditional payments,
subrogation claims, liens, or other rights to payment, relating to
medical treatment or lost wages that have been or may be asserted by.
any health care provider, insurer, governmental entity, employer or
other person or entity ("Medical Claims"). Further, each Triggering
Claimant will indemnify, defend and hold each Participating
Defendant and Participating Insurer harmless from any and all
damages, claims and rights to payment, including any attorneys’ fees
or fines, brought by any person, entity or governmental agency arising
out of or relating to Medical Claims.

16.2.6. | The procedures set forth in this Section 16.2 are intended to ensure
compliance with 42 U.S.C. § 1395y (and/or any state equivalents
and/or other delegated authority). The Parties resolved this matter in
compliance with both state and federal law.

16.2.7. Any Class Member alleging a bodily injury claim has been apprised of
his/her right to seek assistance from legal counsel of his/her choosing
or directly from the Social Security Administration or other
governmental agencies regarding the impact this Settlement
Agreement may have on that Class Member’s current or future
entitlement to Social Security or other governmental benefits. :

16.2.8. Any Class Member alleging a bodily injury claim understands that the
receipt of settlement funds may affect that Class Member’s rights to
other governmental benefits, insurance benefits, disability benefits, ot
pension benefits. Despite this possibility, any such Class Member
desires to enter into this Settlement to settle his/her injury claim as set
forth in this Settlement.

16.2.9. Any Class Member alleging a bodily injury claim understands that
should CMS (Medicare) find that a Medicare Set-Aside Allocation
should have been established and that Medicare's interests were not

33

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 35 of 42

adequately protected, CMS (Medicare) may require the Class Member
to expend up to the entire settlement amount allocated to that Class
Member on Medicare covered expenses related to the injury before
Medicare will provide coverage for the injury. Any Class Member
alleging a bodily injury claim voluntarily accepts this risk and waives
any and all claims of any nature and/or damages against the
Participating Defendants and Participating Insurers should Medicare
take such action, including, but not limited to a Private Cause of
Action against the Participating Defendants and Participating Insurers
under the Medicare Secondary Payer Act (MSP) pursuant to 42 USC

§1395y(b)(3)(A).

16.3. Any disputes as to the allocation of payments among Class Members (including
Participating Defendants in their capacity as Class Members) pursuant to the
allocation procedure referenced in Section 16.1 will not defeat this Settlement and
shall not involve the Participating Defendants (in their capacity as Participating
Defendants) or Participating Insurers except as provided for in Section 16.2.

16.4. All costs of administering the allocation of Settlement Funds and the cost of
notice to Class Members will be paid out of the Settlement Funds.

16.5. Notwithstanding any other provision of this Settlement or of any other document,
the Participating Defendants and Participating Insurers shall not be liable for, and
shall have no responsibility whatsoever for any payment of, any fees, costs, and
expenses incurred by the PSC, Settlement Class Counsel, plaintiffs’ counsel or
privately retained counsel for Class Members, or common benefit counsel,
whether at the trial, appellate or administrative levels, Mediator’s fees and costs,
court costs, Notice Costs, the fees and costs of any person or entity retained by the
Mediator, and/or all other costs and fees associated with this Litigation, CDW-
Related Actions, Released Claims and/or Related claims, the approval and/or
implementation of this Settlement, the administration of claims, and/or the
disposition of the Settlement Funds. Notwithstanding the provisions of this
Settlement or of any other document, the Participating Defendants and
Participating Insurers shall have no obligation to pay any amount beyond the
obligations set forth in Section 4.1 of this Settlement, except to the extent of any
Reserved or Assigned Claims.

16.6. After the Effective Date, the PSC, Class Counsel, common benefit attorneys, and
privately retained attorneys for all Class Members (the “Petitioning Attorneys”)
shall be entitled to petition the Court for attorneys’ fees totaling in the aggregate
up to 32% of the Settlement Funds, with no more than 15% of the Settlement
Funds to be allocated to common benefit fees, and reimbursement of reasonable
expenses, excluding the cost of notice. Participating Defendants and Participating
Insurers reserve their right to object to or oppose any such petition, in whole or in
part, including, without limitation, on grounds that Petitioning Attorneys’ fees on
certain Affected Properties already remediated or agreed to be remediated by
certain Participating Defendants shall be limited to the common benefit.

34

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 36 of 42

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percentage set by the Court, if any at all. The determination of any attorneys’ fee
or court cost issue, including the allocation between and amongst the Petitioning
Attorneys, shall be determined by the Court and all Parties agree such
determination is not appealable and hereby waive all appeals of any such
determination.

If a Class Member opts out of this Settlement pursuant to Section 8.2.1, then the
PSC has the right to petition the Court for attorneys fees and reimbursement of
reasonable costs in the event that Class Member subsequently obtains a separate
recovery to the extent of the predetermined individual settlement amounts of
Section 4.1 attributable to that Class Member, and the Class Member has the right
to oppose such a petition.

Miscellaneous

The Parties and their attorneys and agents shall not attempt to use the payments
made pursuant to this Settlement or the terms hereof to argue in any other
proceeding or context that there is insurance coverage for Chinese Drywall
claims.

The Participating Defendants, Participating Insurers and Knauf do not admit or
concede any liability or damages whatsoever relating to Chinese Drywall.

The Participating Insurers do not admit or concede any liability or insurance
coverage obligation for any claims relating to Chinese Drywall.

As part of the Order and Judgment, the Court will be requested to enter findings
of fact and conclusions of law stating that:

17.4.1. Other than as it relates to Reserved Claims or Assigned Claims, or to
enforce any term of the Settlement, or as to insurance matters
concerning depletion or exhaustion of one or more policies of
insurance, or prior compensation for a claimed loss or set-off, no
person or entity may use or refer to any aspect of this Settlement in
any litigation in which any Participating Defendant or Participating
Insurer is a party.

17.4.2. The Settlement shall not constitute a waiver of any coverage defense
or position taken by any Participating Defendant and/or its insurers,
whether a Participating Insurer or not, related to Chinese Drywall and
no insurer, whether a Participating Insurer or not, shall be estopped ~
from raising any coverage issue or defense by reason of the
Settlement. In addition, any payment by a Participating Insurer as set
forth in Section 4, shall not be considered a confession of judgment or
trigger any obligation to pay attorney's fees under Florida Stat.
627.428 or any other fee shifting statute in any state.

35

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 37 of 42

17.4.3. Except for any Reserved Claims referenced in Section 5.6.3, the
Parties agree that. by entering this Settlement, each Participating
Insurer has acted in good faith and fairly, reasonably, and honestly
towards its insured Participating Defendant, and any actual and/or
potential Class Members and with due regard for the Participating
Insurer’s Participating Defendant, and any potential Class Members’
interests regarding Chinese Drywall. 7

17.44. | Except for any Reserved Claims referenced in Section 5.6.3, the
Parties agree that the actions and positions of the Participating
Insurers, being in good faith, upon the Settlement becoming Final,
precludes any Participating Defendant and any actual and/or potential
Class Member from asserting, maintaining or assigning any statutory
and/or common law bad faith claim against any Participating Insurer. -

17.4.5. The Settlement shall not constitute a waiver or release by any
Participating Defendant or Participating Insurer of any claims of
defenses related to any actual or alleged obligations under a policy of
insurance that such Participating Defendant or Participating Insurer
may have against any person or entity, including another Participating
Insurer, in any manner related to or connected in any way with the
Chinese Drywall claims of Class Members who opt-out of this
Settlement.

17.5. If the last day of any period mentioned in this Settlement falls on a weekend or
legal holiday, the period shall include the next business day.

17.6. All persons shall be on notice of their continuing duty to monitor the Court’s
docket for the most current filings and information. The Court, in its discretion,
may alter, postpone or amend any of these deadlines scheduled by the Court in
connection with the certification of the class and approval of this Settlement
without additional formal notice. Orders of any such changes are expected to be
presented on the Court’s website:
http://Avww.laed.uscourts.gov/Drywall/Drywall. hin.

17.7. Any Class Member (or his or her attorney) who submits false or intentionally
misleading information, through any form of deception, dishonesty or fraud, shall
be subject to appropriate sanctions (including monetary sanctions and costs).

17.8. Unless otherwise specified, any written notices and other communications under
this Settlement shall be in writing and shall be sent to:

36

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 38 of 42

17.9.

For Settlement Class Counsel:
Arnold Levin

Fred S. Longer

Levin, Fishbein, Sedran & Berman
510 Walnut Street, Suite 500
Philadelphia, PA 19106
alevin@lfsblaw.com
flonger@lfsblaw.com

Russ Herman

Leonard A. Davis

Herman Herman & Katz LLP
820 O’Keefe Avenue, Suite 100
New Orleans, LA 70113
rherman@hhkc.com
Idavis@hhkc.com

For Builders’ Liaison Counsel:
Dorothy Wimberly

Stone Pigman Walther Wittmann LLC
546 Carondelet Street

New Orleans, LA 70130

mailto:dwimberly@stonepigman.com

For Installers’ Liaison Counsel
Robert V. Fitzsimmons

Rumberger, Kirk & Caldwell
Brickell Bayview Centre, Suite 3000
80 Southwest 8" Street

Miami, FL 33130

rfitzsimmons@rumberger.com

For Insurers’ Liaison Counsel

H. Minor Pipes, III

Barrasso Usdin Kupperman Freeman & Sarver, LLC
909 Poydras Street, 24" Floor

New Orleans, LA 70112
mpipes@barrassousdin.com

Routine communications may be by email. Communications asserting a breach of
this Settlement shall be by hand delivery or overnight courier (¢.g. Express Mail,
Overnight UPS or Federal Express).

All prior settlements entered into by any of the Parties shall be recognized and
nothing in this Settlement shall in any way affect prior settlements.

37

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 39 of 42

18.

17.10.

17.11.

17.12.

17.13.

This Settlement is the product of arms’ length negotiations between the PSC, the
Participating Defendants and Participating Insurers. Neither the PSC,
Participating Defendants nor Participating Insurers shall be deemed to be the
drafter of this Settlement or any provision thereof. No presumption shall be
deemed to exist in favor of or against either the PSC, Participating Defendants or
Participating Insurers as a result of the preparation or negotiation of this
Settlement.

This Settlement, including its exhibits, constitutes the entire agreement between
the Parties. The Parties have not received or relied upon any agreements or
promises other than as contained in writing in this Settlement, including ‘its
exhibits. ,

Except with respect to Reserved Claims identified on Exhibit 3, this Settlement
may not be modified or amended unless such modification or amendment is in
writing executed by all Parties. Reserved Claims may be modified or amended in
a writing executed by all parties identified in the reservation.

This Settlement may be executed in multiple counterparts, all of which taken
together shall constitute one and the same Settlement.

Federal Rule of Evidence 408

18.1.

18.2.

The Parties specifically acknowledge, agree and admit that this Settlement and its
exhibits, along with all related drafts, motions, pleadings, conversations,
negotiations and correspondence, shall be considered a compromise within the
meaning of Federal Rules of Evidence Rule 408, and any equivalent rule of
evidence or procedure of any state, and shall not (i) constitute, be construed, be
offered, or received into evidence as an admission of the validity of any claim or
defense, or the truth of any fact alleged or other allegation in the Litigation, the
CDW-Related Actions, or in any other pending or subsequently filed action, or of
any wrongdoing, fault, violation of law, or liability of any kind on the part of any
Party, except as permitted in Section 18.3(vi) of this Settlement or (ii) be used to
establish a waiver of any defense or right, or to establish or contest jurisdiction or
venue.

The Parties also agree that this Settlement, any orders, pleadings or other
documents entered in furtherance of this Settlement, and any acts in the
performance of this Settlement are not intended to be, nor shall they in fact be,
admissible, discoverable, or relevant in any case or other proceeding against the
Participating Defendants or Participating Insurers to establish grounds for
certification of any class involving any Class Member, against the Participating
Defendants or Participating Insurers to prove either the acceptance by any Party
hereto of any particular theory of coverage, or as evidence of any obligation that
any Party hereto has or may have to anyone.

38

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 40 of 42

18.3. The provisions of this Settlement, and any orders, pleadings or other documents
entered in furtherance of this Settlement, may be offered or received in evidence
solely (i) to enforce the terms and provisions hereof or thereof, (ii) as may be
specifically authorized by a court of competent jurisdiction after contradictory
hearing upon application of a Party hereto, (iii) in order to establish payment,
proof of depletion or exhaustion of an insurance policy, prior payment for a
claimed loss, set-off or an affirmative defense of exception in a subsequent case,
including res judicata, (iv) in connection with any motion to enjoin or stay any of.
the CDW-Related Actions, (v) to obtain Court approval of the Settlement, or (vi)
to comply with Participating Insurers’ reporting requirements pursuant to Section
111 of the MMSEA.

IN WITNESS HEREOF, the Parties have read and understood the terms and conditions
of this Settlement, agree to be bound by all of its provisions, and have executed this Settlement
on the date shown by their signatures below. —

[Signatures to be provided]

39

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 41 of 42

18.3. The provisions of this Settlement, and any orders, pleadings or other documents
entered in furtherance of this Settlement, may be offered or received in evidence
solely (i) to enforce the terms and provisions hereof or thereof, (ji) as may be
specifically authorized by a court of competent jurisdiction after contradictory
hearing upon application of a Party hereto, (iii) in order to establish payment,
proof of depletion or exhaustion of an insurance policy, prior payment for a
claimed loss, set-off or an affirmative defense of exception in a subsequent case,
including res judicata, (iv) in connection with any motion to enjoin or stay any of
the CDW-Related Actions, (v) to obtain Court approval of the Settlement, or (vi)
to comply with Participating Insurers’ reporting requirements pursuant to Section
111 of the MMSEA.

IN WITNESS HEREOF, the Parties have executed this Settlement Agreement by their
duly authorized representatives on the dates stated below.

For the Plaintiffs’ Steering Committee:
Witnesses: Russ M. He

Plaintiffs’ Piais n Counsel with the full
authority and ¢onsent of the PSC

By: <_ 2—— &} —

Print Name:
Print Name: Kaw in Ht ean
Title: _P Londo ly ator Cowtiel
Print Name: Date: Mae, 12 ; 2012
Witnesses: Arnold Levin
Plaintiffs’ Lead Counsel with. the full authority
and consynt of the PSC
By: L-bli <i
Print Name: Print Name: Aranid Lebar
Title: _P lah tly Luad Couns
Date: Wan 1g Qi?
Print Name: {

39

Case 2:09-md-02047-EEF-MBN Document 14373-5 Filed 05/18/12 Page 42 of 42

For the Participating Defendants and Participating Insurers, on behalf of Insurance Liaison

Counsel and Lead Negotiator:

Witnesses:

Ch Bot d

Print Nem Cothy “bu cr cl

WwAs—

Print Name: \ oN

H. Minor Pipes, I, on behalf of
Insurer’s Lead Counsel with the full authority
and consent of the Participating Defendants and

Print Name: H. Wineg Foes . i

Title: te babel 4, Derted YU taed, Leal Cowl

Date: S-1B- 2012

IN WITNESS HEREOF, the Parties have read and understood the terms and conditions
of this Settlement, agree to be bound by all of its provisions, and have executed this Settlement

on the date shown by their signatures below.

Ist Choice Construction, Inc.

By:

PARTICIPATING DEFENDANTS

Its:

Date:

3180 Lamb Court Acquisition LLC;

and Linel Consulting LLC

By:

Its:

Date:

84 Lumber Company

By:
Its:

Date:

1st Drywall, LLC

By:
Its:
Date:

5177 Builders, Ltd.

A.A. Stucco & Drywall, Inc.

By:
Its:
Date:

40

